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Attorneys for Nationstar Mortgage LLC

                          UNITED STATES BANKRUPTCY COURT

                          DISTRICT OF UTAH - SALT LAKE CITY

 In re                                               Bankruptcy Case No. 23-25897

 CORBIN WILLIAM ARCHER and LISA                      Chapter 13
 ANN-COLLET ARCHER,
                                                     NATIONSTAR MORTGAGE LLC'S
                Debtor.                              REQUEST FOR SPECIAL NOTICE

 SSN: xxx-xx-5069
      xxx-xx-9812


         TO ALL INTERESTED PARTIES:
         PLEASE TAKE NOTICE that the firm of ALDRIDGE PITE, LLP, attorneys for Nationstar

Mortgage LLC hereby requests special notice of all events relevant tothe above-referenced

bankruptcy and copies of all pleadings or documents filed in relation to the above-referenced

bankruptcy, including all pleadings or notices under Federal Rules of Bankruptcy Procedure, Rule

2002, the commencement of any adversary proceedings, the filing of any requests for hearing,

objections, and/or notices of motion, or any other auxiliary filings, as well as notice of all matters

which must be noticed to creditors, creditors committees and parties-in-interest and other notices as

required by the United States Bankruptcy Code and Rules and/or Local Rules of the above-


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referenced bankruptcy court.

       ALDRIDGE PITE, LLP, requests that for all notice purposes and for inclusion in the Master

Mailing List in this case, the following address be used:

                                     ALDRIDGE PITE, LLP
                               8880 Rio San Diego Drive, Suite 725
                                      San Diego, CA 92108



       Neither this Request for Special Notice nor any subsequent appearance, pleading, claim,

proof of claim, documents, suit, motion nor any other writing or conduct, shall constitute a waiver of

the within party's:

       a.      Right to have any and all final orders in any and all non-core matters entered only

after de novo review by a United States District Court Judge;

       b.      Right to receive service pursuant to Fed. R. Civ. P. 4 made applicable to the instant

proceeding by Fed. R. Bankr. P. 7004, notwithstanding Aldridge Pite, LLP’s participation in the

instant proceeding. This Request for Special Notice shall not operate as a confession and/or

concession of jurisdiction. Moreover, the within party does not authorize Aldridge Pite, LLP, either

expressly or impliedly through Aldridge Pite, LLP’s participation in the instant proceeding, to act as

its agent for purposes of service under Fed. R. Bankr. P. 7004;

       c.      Right to trial by jury in any proceeding as to any and all matters so triable herein,

whether or not the same be designated legal or private rights, or in any case, controversy or

proceeding related hereto, notwithstanding the designation or not of such matters as "core

proceedings" pursuant to 28 U.S.C. § 157(b)(2)(H), and whether such jury trial right is pursuant to

statute or the United States Constitution;

       d.      Right to have the reference of this matter withdrawn by the United States District

Court in any matter or proceeding subject to mandatory or discretionary withdrawal; and

       e.      Other rights, claims, actions, defenses, setoffs, recoupments or other matters to which

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this party is entitled under any agreements at law or in equity or under the United States Constitution.

                                               ALDRIDGE PITE, LLP



Dated: December 29, 2023                       /s/ Jesse A. P. Baker
                                               Jesse A.P. Baker
                                               Attorney for Nationstar Mortgage LLC




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